Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 1 of 28 Page ID #:655




                                                                    EXHIBIT 9
                                                                         009
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 2 of 28 Page ID #:656




                                                                    EXHIBIT 9
                                                                         010
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 3 of 28 Page ID #:657




                                                                    EXHIBIT 9
                                                                         011
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 4 of 28 Page ID #:658




                                                                    EXHIBIT 9
                                                                         012
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 5 of 28 Page ID #:659




         EXHIBIT “10”
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 6 of 28 Page ID #:660
                                                                        Penny, Steve
                                                                        Doe v. Doe 1


                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                            SOUTHERN DIVISION SANTA ANA


            JANE JD DOE, AN INDIVIDUAL,  )
                                         )
                         Plaintiff,      )      CIVIL CASE NO.
                                         )      8:18-cv-01136-JLS-KES
                     -v-                 )
                                         )      THE HONORABLE
                                         )      JOSEPHINE L. STATON
            DOE 1, AN INDIVIDUAL; DOE 2, )
            AN INDIANA BUSINESS ENTITY OF)
            FORM UNKNOWN; DOE 3, AN      )
            INDIVIDUAL; DOE 4, AN        )
            INDIVIDUAL; DOE 5, AN        )
            INDIVIDUAL; AND DOES 6       )
            THROUGH 500,                 )
                                         )
                         Defendants.     )
            _____________________________)


                     CERTIFICATE OF NOTARY AS TO FAILURE OF
                                DEPONENT STEVE PENNY
                              TO APPEAR FOR DEPOSITION




                                  October 23, 2018


                               10:35 a.m. - 10:45 a.m.




                                                                                     1
                                  Jilio-Ryan Court Reporters
                             ph. 714.424.9902 info@jilioryan.com
                                                                   EXHIBIT 10
                                                                          001
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 7 of 28 Page ID #:661
                                                                        Penny, Steve
                                                                        Doe v. Doe 1


      1                        UNITED STATES DISTRICT COURT
      2            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
      3
      4
      5       MCKAYLA MARONEY,              )
              an individual,                )
      6                                     )
                           Plaintiff,       )
      7                                     )
                     -vs-                   )       Case No.:
      8                                     )       2:18:cv-03461-JLS-KESx
                                            )
      9       MICHIGAN STATE UNIVERSITY,    )       THE HONORABLE
              a Michigan Entity of Form     )       JOSEPHINE L. STATON
     10       Unknown; and UNITED STATES    )
              OLYMPIC COMMITTEE,            )
     11       a Business Entity of Form     )
              Unknown; USA GYMNASTICS, an   )
     12       Indiana Business Entity of    )
              Form Unknown: LARRY NASSAR,   )
     13       an individual and DOES 1      )
              through 500,                  )
     14                                     )
                           Defendants.      )
     15       ______________________________)
     16
     17
     18
     19
     20
     21
     22
     23
     24
     25



                                                                                     2
                                  Jilio-Ryan Court Reporters
                             ph. 714.424.9902 info@jilioryan.com
                                                                   EXHIBIT 10
                                                                          002
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 8 of 28 Page ID #:662
                                                                        Penny, Steve
                                                                        Doe v. Doe 1


      1                        UNITED STATES DISTRICT COURT
      2            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
      3
      4       JANE PCNE DOE, an individual; )
              and JOHN PCNM DOE, an         )
      5       individual,                   )
                                            )
      6                    Plaintiffs,      )
                                            )
      7              -vs-                   )       Case No.:
                                            )       2:18:cv-03461-JLS-KES
      8                                     )
              USA GYMNASTICS, a Business    )       THE HONORABLE
      9       Entity of Form Unknown; and   )       JOSEPHINE L. STATON
              UNITED STATES OLYMPIC         )
     10       COMMITTEE, a Business Entity )
              of Form Unknown; and DOES 3   )
     11       through 500,                  )
                                            )
     12                    Defendants.      )
              ______________________________)
     13
     14
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24
     25



                                                                                     3
                                  Jilio-Ryan Court Reporters
                             ph. 714.424.9902 info@jilioryan.com
                                                                   EXHIBIT 10
                                                                          003
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 9 of 28 Page ID #:663
                                                                        Penny, Steve
                                                                        Doe v. Doe 1


      1                        UNITED STATES DISTRICT COURT
      2                  NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE
      3
      4       JORDYN MARIE WIEBER,          )
              an individual,                )
      5                                     )
                           Plaintiff,       )
      6                                     )
                     -vs-                   )       Case No.:
      7                                     )       2:18:cv-03462-JLS-KESx
                                            )
      8       UNITED STATES OLYMPIC         )       THE HONORABLE
              COMMITTEE, a Business Entity )        JOSEPHINE L. STATON
      9       of Form Unknown; USA          )
              GYMNASTICS, an Indiana        )
     10       Business Entity of Form       )
              Unknown; Michigan State       )
     11       University, a Business Entity )
              of Form Unknown; LARRY NASSAR,)
     12       STEVE PENNY, an individual;   )
              PAUL PARRILLA, an individual; )
     13       and DOES 1 through 500,       )
                                            )
     14                    Defendants.      )
              ______________________________)
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24
     25



                                                                                     4
                                  Jilio-Ryan Court Reporters
                             ph. 714.424.9902 info@jilioryan.com
                                                                   EXHIBIT 10
                                                                          004
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 10 of 28 Page ID
                                   #:664
                                                                      Penny, Steve
                                                                      Doe v. Doe 1


    1                       UNITED STATES DISTRICT COURT
    2                      CENTRAL DISTRICT OF CALIFORNIA
    3                       SOUTHERN DIVISION, SANTA ANA
    4
    5       JANE LM DOE, an individual,   )
                                          )
    6                    Plaintiff,       )
                                          )
    7              -vs-                   )       Case No.:
                                          )       8:18:cv:0117-JLS-KES
    8       DR. LARRY NASSAR, an          )
            individual; USA GYMNASTICS,   )
    9       an Indiana Business Entity of )       THE HONORABLE
            Form Unknown; ROBERT          )       JOSEPHINE L. STATON
   10       COLAROSSI, an individual;     )
            STEPHEN "STEVE" PENNY, an     )
   11       individual; BELA KAROLYI,     )
            an individual; MARTHA         )
   12       KAROLYI, an individual;       )
            KAROLYI TRAINING CAMPS, LLC, )
   13       a Texas Business Entity of    )
            Form Unknown; KAROLYI WORLD   )
   14       GYMNASTICS, INC., a Texas     )
            Business Entity of Form       )
   15       Unknown; KAROLYI'S ELITE,     )
            a Texas Business Entity of    )
   16       Form Unknown; AOGC ALL        )
            OLYMPIA GYMNASTICS CENTER,    )
   17       INC., a California Business   )
            Entity of Form Unknown;       )
   18       GALINA MARINOVA; an           )
            individual; ARTUR AKOPYAN, an )
   19       individual; and DOES 1        )
            through 500,                  )
   20                                     )
                         Defendants.      )
   21       ______________________________)
   22
   23
   24
   25


                                                                               5
                                Jilio-Ryan Court Reporters
                           ph. 714.424.9902 info@jilioryan.com
                                                                 EXHIBIT 10
                                                                        005
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 11 of 28 Page ID
                                   #:665
                                                                      Penny, Steve
                                                                      Doe v. Doe 1


    1                       UNITED STATES DISTRICT COURT
    2                 NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE
    3
    4
            ALEXANDRA ROSE RAISMAN, an    )
    5       individual,                   )
                                          )
    6                    Plaintiff,       )
                                          )
    7              -vs-                   )       Case No.:
                                          )       5:18-cv-02479-BLF
    8       UNITED STATES OLYMPIC         )
            COMMITTEE, a Business         )       THE HONORABLE
    9       Entity of Form Unknown;       )       BETH LABSON FREEMAN
            USA GYMNASTICS, an Indiana    )
   10       Business Entity of Form       )
            Unknown; LARRY NASSAR, an     )
   11       individual; STEVE PENNY, an   )
            individual; PAUL PARRILLA,    )
   12       an individual; and and DOES 1 )
            through 500,                  )
   13                                     )
                         Defendants.      )
   14       ______________________________)
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25



                                                                               6
                                Jilio-Ryan Court Reporters
                           ph. 714.424.9902 info@jilioryan.com
                                                                 EXHIBIT 10
                                                                        006
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 12 of 28 Page ID
                                   #:666
                                                                      Penny, Steve
                                                                      Doe v. Doe 1


    1                              APPEARANCES
    2
    3     FOR THE PLAINTIFFS: (BY VIDEOCONFERENCE AND TELEPHONE)
    4          Alex E. Cunny, Esq.
               MANLY STEWART FINALDI
    5          19100 Von Karman Avenue
               Suite 800
    6          Irvine, CA 92612
               acunny@manlystewart.com
    7
          FOR THE DEFENDANT:
    8     STEVE PENNY
    9          Edith R. Matthai, Esq.
               ROBIE & MATTHAI
   10          500 South Grand Avenue
               15th Floor
   11          Los Angeles, CA 90071-2609
               ematthai@romalaw.com
   12
          FOR THE DEFENDANT:
   13     STEVE PENNY
   14          Rusty Hardin, Esq.
               RUSTY HARDIN & ASSOCIATES
   15          1401 McKinney Street
               Suite 2250
   16          Houston, TX 77010
   17
          FOR THE DEFENDANT: (BY TELEPHONE)
   18     USA GYMNASTICS, AN INDIANA BUSINESS ENTITY OF FORM
          UNKNOWN; ROBERT COLAROSSI
   19
               Margaret M. Holm, Esq.
   20          CLYDE & CO
               2020 Main Street
   21          Suite 1100
               Irvine, CA 92614-8234
   22          margaret.holm@clydeco.us
   23
   24
   25



                                                                               7
                                Jilio-Ryan Court Reporters
                           ph. 714.424.9902 info@jilioryan.com
                                                                 EXHIBIT 10
                                                                        007
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 13 of 28 Page ID
                                   #:667
                                                                      Penny, Steve
                                                                      Doe v. Doe 1


    1                           INDEX OF EXHIBITS
    2
          NUMBER         DESCRIPTION                              PAGE
    3
          Exhibit 1      AMENDED NOTICE OF TAKING CONTINUED        12
    4                    DEPOSITION OF STEVE PENNY AND
                         REQUEST FOR PRODUCTION IN THE
    5                    LM MATTER
    6     Exhibit 2      AMENDED NOTICE OF TAKING CONTINUED        12
                         DEPOSITION OF STEVE PENNY AND
    7                    REQUEST FOR PRODUCTION IN THE
                         JD MATTER
    8
          Exhibit 3      AMENDED NOTICE OF TAKING CONTINUED        12
    9                    DEPOSITION OF STEVE PENNY AND
                         REQUEST FOR PRODUCTION IN THE
   10                    McKAYLA MARONEY MATTER
   11     Exhibit 4      AMENDED NOTICE OF TAKING CONTINUED        12
                         DEPOSITION OF STEVE PENNY AND
   12                    REQUEST FOR PRODUCTION IN THE
                         PCNE MATTER
   13
          Exhibit 5      AMENDED NOTICE OF TAKING CONTINUED        12
   14                    DEPOSITION OF STEVE PENNY AND
                         REQUEST FOR PRODUCTION IN THE
   15                    RAISMAN MATTER
   16     Exhibit 6      AMENDED NOTICE OF TAKING CONTINUED        12
                         DEPOSITION OF STEVE PENNY AND
   17                    REQUEST FOR PRODUCTION IN THE
                         WIEBER MATTER
   18
   19
   20
   21
   22
   23
   24
   25



                                                                               8
                                Jilio-Ryan Court Reporters
                           ph. 714.424.9902 info@jilioryan.com
                                                                 EXHIBIT 10
                                                                        008
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 14 of 28 Page ID
                                   #:668
                                                                      Penny, Steve
                                                                      Doe v. Doe 1


    1              MR. CUNNY:    We're on the record.      It's
    2        currently 7:35 in California time.         It's 10:35 in
    3        Indiana time.     We're here to take a certificate of
    4        nonappearance for the deposition of Steve Penny, to
    5        occur on October 23, 2018, at 10:00 a.m., at the
    6        Regus Business Centers located at
    7        201 North Illinois Street, 16th Floor,
    8        South Tower, Indianapolis, Indiana, 46204.
    9              We're taking a certificate of nonappearance.
   10        Mr. Penny is not appearing for this deposition
   11        based on the objections of his counsel.             I received
   12        written objections last night as to the LM,
   13        Raisman, and Wieber matters.       However, Ms. Matthai
   14        indicated last Friday, I believe, on the 18th
   15        that he would not be appearing for the deposition
   16        today.
   17              I want to put on the record as Exhibit 1 --
   18        and I'll e-mail these to the court reporter.            All
   19        counsel have been served with these notices, as to
   20        the proofs on the notices.       So Exhibit 1 will be
   21        the Amended Notice of Taking Continued Deposition
   22        of Steve Penny and Request for Production in the LM
   23        matter; the same Notice in the JD matter will be
   24        marked as Exhibit 2; the Notice in the
   25        McKayla Maroney matter for Steve Penny's deposition



                                                                                9
                                Jilio-Ryan Court Reporters
                           ph. 714.424.9902 info@jilioryan.com
                                                                   EXHIBIT 10
                                                                          009
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 15 of 28 Page ID
                                   #:669
                                                                      Penny, Steve
                                                                      Doe v. Doe 1


    1        will be marked as Exhibit 3; the Notice in the
    2        PCNE Doe matter will be marked as Exhibit 4; the
    3        Notice in the Raisman matter will be marked as
    4        Exhibit 5; and the Notice in the Wieber matter will
    5        be marked as Exhibit 6.
    6              I was also informed that Mr. Penny will be
    7        seeking a stay based on the Fifth Amendment civil
    8        stay.   He filed an ex parte application.           Just to
    9        put on the record, we believe in addition to the
   10        areas regarding the recent criminal charges, we
   11        believe there's lots of other discoverable areas
   12        that do not pertain to the criminal charges pending
   13        against Mr. Penny.     So we will be opposing that
   14        stay and seeking responses at his deposition,
   15        whether or not he wants to invoke for some of them
   16        or not.
   17              So with that, I'll turn it over to other
   18        counsel who would like to be heard.
   19              MS. MATTHAI:    Thank you.     This is
   20        Edith Matthai, counsel for Mr. Penny.          As you
   21        noted, I advised that Mr. Penny would not appear
   22        for his deposition today in light of the charges
   23        that have been filed in Texas.        I gave that advice
   24        on October 18 at 8:30 a.m. and advised that he
   25        would not appear here today.



                                                                               10
                                Jilio-Ryan Court Reporters
                           ph. 714.424.9902 info@jilioryan.com
                                                                  EXHIBIT 10
                                                                         010
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 16 of 28 Page ID
                                   #:670
                                                                      Penny, Steve
                                                                      Doe v. Doe 1


    1              Counsel is correct that we have filed an
    2        ex parte application for a stay of the proceedings
    3        as to Mr. Penny in those actions in which he has
    4        been named as a defendant.       We've asked for
    5        six months at this point and advised the Court that
    6        should the Texas issues be resolved before the
    7        expiration of that six-month period, we would, of
    8        course, advise the Court and Counsel.
    9              With that, I would ask that Mr. Hardin, who is
   10        Mr. Penny's counsel in Texas, make any statement
   11        which he wishes to make for the record.
   12              MR. HARDIN:    Yes.   My name is Rusty Hardin,
   13        and I'm an attorney licensed to practice in Texas.
   14        I was contacted at the end of last week, probably
   15        Friday, about whether or not I would be willing to
   16        represent Mr. Penny.      I've talked to him over the
   17        weekend and I've agreed to representing in the
   18        criminal matter that is now pending in
   19        Walker County, Texas, in which he's been indicted
   20        for a third-degree felony of tampering with
   21        evidence.
   22              I would hope that rather than taking a
   23        nonappearance in this deposition that you would
   24        consider simply postponing this deposition until I
   25        can become informed with it or not.         It may very



                                                                              11
                                Jilio-Ryan Court Reporters
                           ph. 714.424.9902 info@jilioryan.com
                                                                 EXHIBIT 10
                                                                        011
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 17 of 28 Page ID
                                   #:671
                                                                      Penny, Steve
                                                                      Doe v. Doe 1


    1        well be that I might have different advice to
    2        Mr. Penny some weeks from now, once we understand
    3        what the case is about.      He was indicted in a
    4        sealed indictment that apparently was returned
    5        September 28.     He did not know that there was a
    6        pending indictment during that period of time, and
    7        when he was arrested this past week in the middle
    8        of the week on vacation with his family in
    9        Tennessee, that was the first he had notice for it.
   10        So there would be no opportunity before the middle
   11        or end of last week for him to retain counsel, for
   12        that counsel to become informed about the facts,
   13        and to be able to give him informed advice about a
   14        deposition.
   15              I respectfully disagree that there are other
   16        evidentiary matters he could be questioned about
   17        that would not involve Walker County, and
   18        therefore, apparently you have some concern or
   19        disagreement with him being unwilling to testify at
   20        this time.    I would assure you that once we become
   21        familiar with the facts, I'll objectively look at
   22        it as to how we advise him.       It may very well be
   23        advice will remain the same, that until the
   24        criminal matter is resolved he will be unavailable
   25        for a deposition.     I think anyone can understand



                                                                              12
                                Jilio-Ryan Court Reporters
                           ph. 714.424.9902 info@jilioryan.com
                                                                 EXHIBIT 10
                                                                        012
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 18 of 28 Page ID
                                   #:672
                                                                      Penny, Steve
                                                                      Doe v. Doe 1


    1        that.
    2              For the time being now, all I can advise him
    3        is on Tuesday after he was indicted on Wednesday
    4        probably, or became aware of one on Wednesday of
    5        last week, it is simply premature for him to appear
    6        for any deposition in any locale.        I hope that once
    7        I become familiar with the case we can give him
    8        informed advice, but right now we have asked him
    9        not to appear for this deposition.         I'll hope you
   10        would recognize that it may be just advantage of
   11        everyone to take a pause on seeking his deposition
   12        while the cases move forward until he can receive
   13        informed advice.
   14              MR. CUNNY:    Peggy, do you have anything to put
   15        on the record?
   16              MS. HOLM:    I don't.
   17              MR. CUNNY:    Okay.   I want to make just two
   18        other points regarding Mr. Hardin getting up to
   19        speed on the case.     One of the issues, obviously we
   20        believe Mr. Penny's testimony is going to be
   21        relevant not only to Mr. Penny but also to the USOC
   22        as to jurisdictional matters but obviously merit
   23        matters as well.     So for that reason further delay
   24        in his deposition, we have motions to oppose and
   25        relevant evidence to get in that respect.           Also, as



                                                                              13
                                Jilio-Ryan Court Reporters
                           ph. 714.424.9902 info@jilioryan.com
                                                                 EXHIBIT 10
                                                                        013
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 19 of 28 Page ID
                                   #:673
                                                                      Penny, Steve
                                                                      Doe v. Doe 1


    1        to his invocation of the Fifth Amendment in the
    2        civil case, you know, regardless of what happens
    3        with the ex parte application to stay the case on
    4        Fifth Amendment grounds, he does have to invoke
    5        question by question if that stay is not granted.
    6              So as to those matters I suppose will be
    7        decided within the week, I would assume, but we'll
    8        go from there.
    9              MR. HARDIN:    I would ask you to consider that
   10        I've noticed some comments in the media that
   11        there's been criticism of Walker County for not
   12        indicting him in more areas and for more bases or
   13        so.   I'd like to respectfully suggest to you that
   14        to say that you're going to insist on going forward
   15        on a deposition so that you can get your
   16        Fifth Amendment invocation on something that
   17        happened so suddenly on anybody that's been noticed
   18        for a deposition, I would hope in a sense of
   19        civility that you would simply say, okay, we'll
   20        back up and let's wait, this man has been hit with
   21        a criminal indictment, he needs to get informed
   22        advice, and trying to put him on the spot of
   23        thinking about whether or not to take the Fifth now
   24        appears to me to be a little unseemly.
   25              I would ask for y'all to regather and decide



                                                                              14
                                Jilio-Ryan Court Reporters
                           ph. 714.424.9902 info@jilioryan.com
                                                                 EXHIBIT 10
                                                                        014
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 20 of 28 Page ID
                                   #:674
                                                                      Penny, Steve
                                                                      Doe v. Doe 1


    1        whether you want to reach out to me and talk about
    2        another possible date, and at that time, if after
    3        when that time arrives my advice to him is not to
    4        testify, then at least it will be an informed
    5        observation.    I quite frankly don't remember ever
    6        an attorney insisting on taking a deposition of
    7        somebody six days after he has been indicted.          In
    8        fact, I can comfortably say in forty-three years
    9        I've never seen it.      If you guys want to proceed
   10        that way, then there's nothing I can do about it
   11        except inform whichever judges are considering
   12        these matters that I think what you're doing is
   13        extremely unfair.
   14               MR. CUNNY:   Okay.   Well, I have dispositive
   15        motions pending from Mr. Penny himself seeking to
   16        dismiss this action for which I have oppositions
   17        due on November 21.      So I understand what you're
   18        saying, but he's trying to get the case dismissed
   19        as well.    He's trying to seek affirmative relief on
   20        bases which we believe he is indicted for
   21        destroying evidence on.      So obviously those two
   22        issues are intertwined and, you know, we need to
   23        get that information or implications or what have
   24        you.
   25               So if we could get another deposition on



                                                                              15
                                Jilio-Ryan Court Reporters
                           ph. 714.424.9902 info@jilioryan.com
                                                                 EXHIBIT 10
                                                                        015
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 21 of 28 Page ID
                                   #:675
                                                                      Penny, Steve
                                                                      Doe v. Doe 1


    1        calendar before November 16, which would give me
    2        just a couple days to get the transcript back to
    3        put anything into the opposition I need to, we
    4        could work on that.      But if that's not in the
    5        cards, then we're going to have to proceed with the
    6        Court.
    7              MS. MATTHAI:    Obviously if the stay is
    8        granted, it will apply to the jurisdictional motion
    9        as well as the timing of your opposition to it.            If
   10        the issue of the timing of the jurisdictional
   11        matter needs to be addressed, we will address it.
   12        As you are well aware, this jurisdictional issue
   13        has gone on for a very, very long time with
   14        multiple continuances for multiple reasons.          Not
   15        one sided, I might note.       So to the extent that
   16        those issues need to be dealt with, we can deal
   17        with those.
   18              MR. HARDIN:    I would not be able to do it that
   19        quickly just because of other commitments.          Part of
   20        my problem here is this has been pending now for a
   21        couple of years.     The investigations and everything
   22        are something that I knew nothing about, still know
   23        nothing about, and it's going to take while to get
   24        up to speed with it.      So I'll just reiterate my
   25        request that you postpone this deposition and



                                                                              16
                                Jilio-Ryan Court Reporters
                           ph. 714.424.9902 info@jilioryan.com
                                                                 EXHIBIT 10
                                                                        016
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 22 of 28 Page ID
                                   #:676
                                                                      Penny, Steve
                                                                      Doe v. Doe 1


    1        reconsider another time, but that's all I can do at
    2        this moment.
    3              MR. CUNNY:    All right.    Thank you.        We can go
    4        off the record, if everybody agrees.
    5              MS. MATTHAI:    Yes.
    6              MS. HOLM:    Yes.
    7              MR. HARDIN:    Yes.
    8              MR. CUNNY:    All right.    Thank you.
    9              THE REPORTER:    Thank you.
   10              (Exhibits 1-6 were marked for identification.)
   11
   12
   13
   14
   15              WHEREFORE, the undersigned reports said facts
   16        to this Court for such action as the Court may deem
   17        proper.
   18
   19
   20                             ___________________________________
                                  Michele K. Gustafson, CRR-RPR
   21                             Notary Public
   22                             County of Marion
   23                             My Commission expires:
                                  August 31, 2025
   24
   25



                                                                                17
                                Jilio-Ryan Court Reporters
                           ph. 714.424.9902 info@jilioryan.com
                                                                   EXHIBIT 10
                                                                          017
Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 23 of 28 Page ID
                                   #:677




      EXHIBIT “11”
                                                       Case
                                                        Case2:18-cv-03461-JLS-KES
                                                             2:18-cv-03461-JLS-KES Document
                                                                                    Document39
                                                                                             42-2Filed
                                                                                                    Filed
                                                                                                       10/05/18
                                                                                                          11/02/18Page
                                                                                                                    Page
                                                                                                                       1 of242 ofPage
                                                                                                                                  28 Page
                                                                                                                                      ID #:588
                                                                                                                                            ID
                                                                                            #:678


                                                         1
                                                               JOHN C. MANLY, Esq. (State Bar No. 149080)
                                                         2     VINCE W. FINALDI, Esq. (State Bar No. 238279)
                                                               ALEX E. CUNNY (State Bar No. 291567)
                                                         3     JANE E. REILLEY (State Bar No. 314766)
                                                               MANLY, STEWART & FINALDI
                                                         4     19100 Von Karman Ave., Suite 800
                                                               Irvine, CA 92612
                                                         5     Telephone: (949) 252-9990
                                                               Fax: (949) 252-9991
                                                         6
                                                               Attorneys for Plaintiff, MCKAYLA MARONEY
                                                         7
                                                         8                          UNITED STATES DISTRICT COURT
                                                         9          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                                                        10
                                                        11     MCKAYLA MARONEY, an                       Civil Case No. 2:18:cv-03461-JLS-KESx
                                                               individual.
1 9 1 0 0 V o n K a r m a n Av e . , S u i t e 8 0 0
 M A NL Y , S T E W A RT & F I N A L D I




                                                        12
                                                                                                         [The Honorable Josephine L Staton]
      Telephone: (949) 252-9990
         Irvine, California 92612




                                                                            Plaintiff,
          A T T OR NE Y S A T L A W




                                                        13
                                                                                                    ORDER CONTINUING
                                                        14           v.                             HEARING AND BRIEFING
                                                                                                    SCHEDULE ON DEFENDANT
                                                               MICHIGAN STATE UNIVERSITY, a USOC’S 12(b) MOTION (DOC.
                                                        15
                                                               Michigan Entity of Form Unknown; and 27)
                                                        16     UNITED STATES OLYMPIC
                                                               COMMITTEE, a Business Entity of
                                                        17     form unknown; USA GYMNASTICS, Complaint filed: December 20, 2017
                                                               an Indiana Business Entity of Form   Judge:     Honorable Karen E. Scott
                                                        18     Unknown; LARRY NASSAR, an            Courtroom: 6D
                                                               individual and DOES 1 through 500.
                                                        19
                                                                            Defendants.
                                                        20

                                                        21
                                                                                            ORDER
                                                        22
                                                                    The Parties having stipulated, and good cause appearing, IT IS HEREBY
                                                        23
                                                              ORDERED that:
                                                        24
                                                              //
                                                        25
                                                              //
                                                        26
                                                              //
                                                        27
                                                              //
                                                        28

                                                                                           1
                                                                    [PROPOSED] ORDER CONTINUING HEARING AND BRIEFING
                                                                                                            EXHIBIT 11
                                                                      SCHEDULE ON DEFENDANT USOC’S FRCP 12(b) MOTION
                                                                                                                   001
                                                       Case
                                                        Case2:18-cv-03461-JLS-KES
                                                             2:18-cv-03461-JLS-KES Document
                                                                                    Document39
                                                                                             42-2Filed
                                                                                                    Filed
                                                                                                       10/05/18
                                                                                                          11/02/18Page
                                                                                                                    Page
                                                                                                                       2 of252 ofPage
                                                                                                                                  28 Page
                                                                                                                                      ID #:589
                                                                                                                                            ID
                                                                                            #:679


                                                         1          1. Plaintiff’s Opposition to Defendant USOC’s Motion to Dismiss (Pursuant
                                                         2              to FRCP 12(b)) will be filed no later than November 21, 2018;
                                                         3          2. Defendant USOC’s Reply Brief in support of their Motion to Dismiss
                                                         4              (Pursuant to FRCP 12(b)) will be filed no later than January 18, 2019;
                                                         5          3. The hearing on Defendant USOC’s Motion to Dismiss (Pursuant to FRCP
                                                         6              12(b)) shall be continued to February 1, 2019 at 10: 30 a.m.
                                                         7

                                                         8    IT IS SO ORDERED.
                                                         9
                                                        10    Date: October 5, 2018                        JOSEPHINE L. STATON
                                                        11                                                 Hon. Josephine L. Staton
                                                                                                           United States District Judge
1 9 1 0 0 V o n K a r m a n Av e . , S u i t e 8 0 0
 M A NL Y , S T E W A RT & F I N A L D I




                                                        12
      Telephone: (949) 252-9990
         Irvine, California 92612
          A T T OR NE Y S A T L A W




                                                        13

                                                        14

                                                        15

                                                        16
                                                        17

                                                        18

                                                        19

                                                        20

                                                        21

                                                        22

                                                        23

                                                        24

                                                        25

                                                        26

                                                        27

                                                        28

                                                                                           2
                                                                    [PROPOSED] ORDER CONTINUING HEARING AND   BRIEFING
                                                                                                            EXHIBIT 11
                                                                      SCHEDULE ON DEFENDANT USOC’S FRCP 12(b) MOTION
                                                                                                                   002
                          Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 26 of 28 Page ID
                                                             #:680


                                   1
                                                                  CERTIFICATE OF SERVICE

                                   2           I am a resident of the State of California, over the age of eighteen years, and
                                   3
                                        not a party to the within action. My business address is Manly, Stewart & Finaldi,
                                        19100 Von Karman Ave., Suite 800, Irvine, CA 92612.
                                   4

                                   5
                                              On November 2, 2018, I served the within documents:

                                   6         1) NOTICE OF PLAINTIFF MCKAYLA MARONEY’S EX PARTE
                                   7
                                        APPLICATION FOR AN ORDER ADVANCING PLAINTIFF’S DISCOVERY
                                        MOTION TO COMPEL DEPOSITION OF STEVE PENNY; MEMORANDUM
                                   8    OF POINTS AND AUTHORITIES; (2) DECLARATION OF ALEX E. CUNNY
                                   9    IN SUPPORT OF PLAINTIFF MCKAYLA MARONEY’S EX PARTE
                                        APPLICATION FOR AN ORDER ADVANCING PLAINTIFF’S DISCOVERY
                                   10   MOTION TO COMPEL DEPOSITION OF STEVE PENNY; (3) [PROPOSED]
                                   11   ORDER GRANTING PLAINTIFF MCKAYLA MARONEY’S EX PARTE
19100 Von Karman Ave., Suite 800
MANLY, STEWART & FINALDI




                                        APPLICATION FOR AN ORDER ADVANCING PLAINTIFF’S DISCOVERY
   Telephone: (949) 252-9990




                                   12   MOTION TO COMPEL DEPOSITION OF STEVE PENNY
     Irvine, California 92612




                                   13
                                              ELECTRONIC - As addressed to all parties appearing on the Court's ECF
                                   14   service list in this action via the Central District of California's Court's CM/ECF
                                   15   system, and shall be available for viewing and downloading from the ECF system.

                                   16          FEDERAL - I certify under penalty of perjury under the law of the United
                                   17   States of America that the foregoing is true and correct.

                                   18         Executed on November 2, 2018, at Irvine, California.
                                   19
                                                                                  /s/ Kathy Frederiksen
                                   20                                           Kathy Frederiksen
                                   21

                                   22

                                   23

                                   24

                                   25

                                   26

                                   27

                                   28


                                                                                  -1-
                          Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 27 of 28 Page ID
                                                             #:681


                                   1
                                                                    SERVICE LIST
                                                     McKayla Maroney v. Michigan State University, et al.
                                   2                    USDC, Case No. 2:18-cv-03461-CAS-AFM
                                   3

                                   4    Kevin James Minnick
                                   5
                                        Skadden Arps Slate Meagher and Flom LLP
                                        300 South Grand Avenue Suite 3400
                                   6    Los Angeles, CA 90071
                                   7
                                        213-687-5000
                                        Fax: 213-687-5600
                                   8    Email: kevin.minnick@skadden.com
                                   9    Attorneys for Defendant MICHIGAN STATE UNIVERSITY

                                   10   Mitchell A. Kamin
                                   11   mkamin@cov.com
19100 Von Karman Ave., Suite 800
MANLY, STEWART & FINALDI




                                        Carolyn Kubota
   Telephone: (949) 252-9990




                                   12   ckubota@cov.com
     Irvine, California 92612




                                   13   Mark Y. Chen
                                        mchen@cov.com
                                   14   Paulina Slagter
                                   15   pslagter@cov.com
                                        COVINGTON & BURLING LLP
                                   16   1999 Avenue of the Stars, Suite 3500
                                   17   Los Angeles, CA 90067-4643
                                        Telephone: + 1 424-332-4800
                                   18   Facsimile: + 1 424-332-4749
                                   19   Attorneys for Defendant United States Olympic Committee

                                   20   Udit Sood
                                   21   Covington and Burling LLP
                                        One Front Street 35th Floor
                                   22   San Francisco, CA 94111-5356
                                   23   415-591-6000
                                        Fax: 415-591-6091
                                   24   Email: usood@cov.com
                                   25   Attorneys for Defendant United States Olympic Committee
                                   26

                                   27

                                   28


                                                                             -2-
                          Case 2:18-cv-03461-JLS-KES Document 42-2 Filed 11/02/18 Page 28 of 28 Page ID
                                                             #:682


                                   1
                                        Margaret M. Holm
                                        Sheryl M Rosenberg
                                   2    Melissa McKenna Leos
                                   3
                                        Clyde & Co US LLP
                                        2020 Main Street
                                   4    Suite 1100
                                   5
                                        Irvine, CA 92614-8234
                                        (949) 567-7838 (Direct)
                                   6    (714) 322-5578 (Cell)
                                   7
                                        margaret.holm@clydeco.us
                                        sheryl.rosenberg@clydeco.us
                                   8    melissa.leos@clydeco.us
                                   9    Attorneys for Defendants USA GYMNASTICS, an Indiana business entity of form
                                        unknown
                                   10

                                   11
19100 Von Karman Ave., Suite 800
MANLY, STEWART & FINALDI

   Telephone: (949) 252-9990




                                   12
     Irvine, California 92612




                                   13

                                   14

                                   15

                                   16

                                   17

                                   18

                                   19

                                   20

                                   21

                                   22

                                   23

                                   24

                                   25

                                   26

                                   27

                                   28


                                                                            -3-
